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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA

     v.                                               Case No. 21-CR-00204-BAH

 MATTHEW BLEDSOE,

      Defendant.

     UNITED STATES’ MOTION TO DISMISS INDICTMENT WITH PREJUDICE
         PURSUANT TO FEDERAL RULE CRIMINAL PROCEDURE 48(a)

          The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, respectfully submits this motion.

          Pursuant to Federal Rule of Criminal Procedure 48(a), the government hereby moves to

dismiss the indictment against the defendant with prejudice. The government cites to the Executive

Order dated January 20, 2025, Granting Pardons and Commutation of Sentences for Certain

Offenses Relating to the Events at Or Near the United States Capitol on January 6, 2021, as the

reason for this dismissal.

                                                        Respectfully submitted,

                                                        EDWARD R. MARTIN, JR.
                                                        United States Attorney
                                                        D.C. Bar No. 481866


                                                        ____________/S/_______
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